

Matter of Maria D.S. v Andrei S. (2023 NY Slip Op 05209)





Matter of Maria D.S. v Andrei S.


2023 NY Slip Op 05209


Decided on October 12, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2023

Before: Webber, J.P., Kern, Singh, Scarpulla, Rosado, JJ. 


Index No. O-07168/22 Appeal No. 763 Case No. 2022-04979 

[*1]In the Matter of Maria D.S., Petitioner-Appellant,
vAndrei S., Respondent-Respondent.


Douglas H. Reiniger, New York, for appellant.
The Law Offices of Andreas Vasilatos, Brooklyn (Scott P. Benjamin of counsel), for respondent.



Order, Family Court, New York County (Hasa A. Kingo, J.), entered on or about October 28, 2022, which granted respondent's motion to vacate a temporary order of protection and dismissed petitioner's family offense and violation petitions, unanimously affirmed, without costs.
The court correctly dismissed the family offense and violation petitions without a hearing. Even afforded a liberal construction and accepted as true, the allegations in the family offense petition fail to allege facts that, if proven, would establish that respondent had committed a qualifying family offense, including the family offenses of harassment in the second degree under Penal Law § 240.26(3) and stalking in the fourth degree
under Penal Law § 120.45 (see Matter of Yajaira B. v Victoria B., 204 AD3d 600 [1st Dept 2022]).
We have considered petitioner's remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2023








